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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                                                                   November 05, 2020
                  IN THE UNITED STATES DISTRICT COURT               David J. Bradley, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


LEROY PHILLIP MITCHELL,              §
TDCJ #02205325,                      §
                                     §
            Petitioner,              §
                                     §
v.                                   §       CIVIL ACTION NO. H-20-3619
                                     §
BOBBY LUMPKIN, Director,1            §
Texas Department of Criminal         §
Justice - Correctional               §
Institutions Division,               §
                                     §
                  Respondent.        §



                      MEMORANDUM OPINION AND ORDER



      State inmate Leroy Phillip Mitchell (TDCJ #02205325) has filed

a Petition for a Writ of Habeas Corpus by a Person in State Custody

("Petition") (Docket Entry No. 1) , challenging a conviction from

Waller County, Texas.      After considering all of the pleadings as

required by Rule 4 of the Rules Governing Section 2254 Cases, the

court will dismiss this action without prejudice for the reasons

explained below.


                              I.   Background

      On June 15, 2018, Mitchell was convicted of murder by a jury


      1Although the petition lists Warden Smith as the respondent,
the court substitutes Director Bobby Lumpkin of the Texas
Department of Criminal Justice - Correctional Institutions Division
 ("TDCJ") as the state official having custody of him pursuant to
Rule 2(a) of the Rules Governing Section 2254 Cases in the United
States District Courts.
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in the 506th District Court of Waller County, Texas, and sentenced

to   55        years'   imprisonment     in   Case     No.   15-04-15198. 2    That

conviction was affirmed on direct appeal.                See Mitchell v. State of

Texas, 590 S.W.3d 597            (Tex. App. - Houston [1st Dist.]          Oct. 22,

2019,       no pet.).      Mitchell did not appeal further by filing a

petition for discretionary review with the Texas Court of Criminal

Appeals and he has not pursued state habeas corpus review or any

other collateral proceeding to challenge the conviction. 3

        On October 22, 2020, this court received an undated federal

habeas Petition from Mitchell, who asserts that he is entitled to

relief from his conviction for the following reasons:

        ( 1)     he was not read his rights before giving a
                 verbal statement, which was admitted into
                 evidence in violation of due process;

        (2)      the prosecutor engaged in misconduct by
                 striking all potential black jurors during
                 jury selection;

        ( 3)     the state suppressed a recorded statement from
                 the deceased's girlfriend because "it was
                 obtained illegally" by an off-duty officer,
                 but she was allowed to testify anyway and
                 committed perjury in violation of his right to
                 due process;

        (4)      the prosecutor engaged in misconduct by making
                 misleading statements during closing argument
                 at punishment about his potential release date
                 on parole; and

        (5)      the    trial   court   abused   its    discretion    by


        2
            Petition, Docket Entry No. 1, pp. 2-3.
        3
            Id. at 3-4.

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             allowing the lead investigator,    a Texas
             Ranger, to remain in court after "the Rule"
             was invoked. 4

Because Mitchell has not raised these claims before the Texas Court

of Criminal Appeals in a petition for discretionary review or a

state habeas corpus proceeding his Petition is subject to dismissal

for lack of exhaustion.


                           II.   Discussion

     A federal court may not grant habeas corpus relief under 28

U.S.C. § 2254 unless the petitioner "has exhausted the remedies

available in the courts of the State." 28 U.S.C. § 2254 (b) (1) (A) ;

Fisher v. Texas, 169 F.3d 295, 302 (5th Cir. 1999).           To satisfy

this requirement "the petitioner must afford the state court a

'fair opportunity to apply controlling legal principles to the

facts bearing upon his constitutional claim.'" Bagwell v. Dretke,

372 F.3d 748, 755 (5th Cir. 2004) (quoting Anderson v. Harless, 103

S. Ct. 276, 277 (1982)).   This means that a petitioner must present

his claims in a procedurally proper manner to the highest court of

criminal jurisdiction in the state, which in Texas is the Texas

Court of Criminal Appeals.    See O'Sullivan v. Boerckel, 119 S. Ct.

1728, 1731-34 (1999); Richardson v. Procunier, 762 F.2d 429, 432

(5th Cir. 1985).

     A Texas criminal defendant may exhaust remedies by taking the

following paths to the Texas Court of Criminal Appeals:           (1) the


     4
         Id. at 6-7, 11.
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petitioner may file a direct appeal from a judgment of conviction

followed, if necessary, by a petition for discretionary review in

the Texas Court of Criminal Appeals; and/ or                 ( 2)   he may file an

application for a writ of habeas corpus under Article 11.07 of the

Texas Code of Criminal Procedure in the convicting court, which is

transmitted to the Texas Court of Criminal Appeals once the trial

court determines whether findings are necessary.                     See Tex. Code

Crim. Proc. art. 11.07 § 3(c).             "Habeas petitioners must exhaust

state remedies by pursuing their claims through one complete cycle

of    either    state    direct   appeal      or    post-conviction     collateral

proceedings." Busby v. Dretke, 359 F.3d 708, 723 (5th Cir. 2004).

       The     exhaustion    requirement      "is     not   jurisdictional,       but

reflects a policy of federal-state comity designed to give the

State an initial opportunity to pass upon and correct alleged

violations of its prisoners' federal rights."               Moore v. Quarterman,

454    F.3d 484,    490-91     (5th Cir.      2006)    (citations and internal

quotations marks omitted).           Exceptions exist only where there is

"an     absence     of      available   State         corrective      process"     or

"circumstances      exist     that   render    such    process      ineffective    to

protect the rights of the applicant."               28 U.S.C. § 2254 (b) (1) (B).

       According to the Petition Mitchell has not raised any of his

claims before the Texas Court of Criminal Appeals,                     either in a

petition for discretionary review or in a state habeas corpus

application under Article 11.07 of the Texas Code of Criminal



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Procedure. 5   Because state habeas corpus review under Article 11.07

remains available,       Mitchell does not fit within a recognized

exception to the exhaustion doctrine.        Under these circumstances,

comity requires this court to defer until the Texas Court of

Criminal Appeals has considered the merits of the petitioner's

constitutional claims and the exhaustion requirement is satisfied.

See Picard v. Connor, 92 S. Ct. 509, 512 (1971).             Therefore, the

pending federal habeas Petition must be dismissed as premature for

lack of exhaustion. See Castille v. Peoples, 109 S. Ct. 1056, 1059

(1989) (A petition under 28 U.S.C. § 2254 "must be dismissed if

state remedies have not been exhausted as to any of the federal

claims.")(citing Rose v. Lundy, 102 S. Ct. 1198 (1982)).


                  III.    Certificate of Appea1abi1ity

     Rule 11 of the Rules Governing Section 2254 Cases requires a

district court to issue or deny a certificate of appealability when

entering a final order that is adverse to the petitioner.                 A

certificate of appealability will not issue unless the petitioner

makes "a substantial showing of the denial of a constitutional

right," 28 U.S.C. § 2253(c)(2), which requires a petitioner to

demonstrate    "that reasonable    jurists    would   find    the   district



     5
      Petition, Docket Entry No. 1, pp. 3-4.    Public records of
Texas judicial proceedings confirm that Mitchell has not filed any
petition or habeas application that has reached the Texas Court of
Criminal Appeals. See Texas Judicial Branch website, available at:
http://search.txcourts.gov (last visited Nov. 5, 2020).


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court's assessment of the            constitutional     claims    debatable or

wrong."     Tennard v. Dretke, 124 S. Ct. 2562, 2565 (2004) (quoting

Slack v. McDaniel, 120 S. Ct. 1595, 1604 (2000)).            Where denial of

relief is based on procedural grounds the petitioner must show not

only that "jurists of reason would find it debatable whether the

petition states a valid claim of the denial of a constitutional

right," but also that they "would find it debatable whether the

district court was correct in its procedural ruling."                  Slack, 120

S. Ct. at 1604.      Because reasonable jurists would not debate that

the    petitioner    has    not    yet    exhausted   available    state      court

remedies, a certificate of appealability will not issue.


                           IV.    Conc1usion and Order

       Based on the foregoing, the court ORDERS as follows:

       1.    The Petition for a Writ of Habeas Corpus by a
             Person in State Custody filed by Leroy Phillip
             Mitchell (Docket Entry No. 1) is DISMISSED without
             prejudice for lack of exhaustion.

       2.    A certificate of appealability is DENIED.

       The Clerk shall provide a copy of this Memorandum Opinion and

Order to the petitioner.

       SIGNED at Houston, Texas, on this the                      of   hov,   2020.




                                         SENIOR UNITED STATES DISTRICT JUDGE



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